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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                      )
                                                               )                8:12CR83
                           Plaintiff,                          )
                                                               )
         vs.                                                   )                 ORDER
                                                               )
FRANCISCO SANCHEZ-GASTELUM,                                    )
                                                               )
                           Defendant.                          )


         This matter is before the court on the motion for an extension of time by defendant Francisco Sanchez-
Gastelum (Sanchez-Gastelum) (Filing No. 25). Sanchez-Gastelum seeks an additional thirty days in which to
file pretrial motions in accordance with the progression order. Sanchez-Gastelum has filed an affidavit wherein
he consents to the motion and acknowledges he understands the additional time may be excludable time for the
purposes of the Speedy Trial Act (Filing No. 26). Sanchez-Gastelum's counsel represents that government's
counsel has no objection to the motion. Upon consideration, the motion will be granted.


         IT IS ORDERED:
         Defendant Sanchez-Gastelum's motion for an extension of time (Filing No. 25) is granted. Sanchez-
Gastelum is given until on or before May 21, 2012, in which to file pretrial motions pursuant to the progression
order. The ends of justice have been served by granting such motion and outweigh the interests of the public
and the defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the

time between April 20, 2012, and May 21, 2012, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


         DATED this 20th day of April, 2012.
                                                               BY THE COURT:
                                                               s/ Thomas D. Thalken
                                                               United States Magistrate Judge
